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                                                                                United States District Court
                                                                                  Southern District of Texas

                                                                                     ENTERED
                                                                                   January 27, 2022
                   IN THE UNITED STATES DISTRICT COURT
                                                                                  Nathan Ochsner, Clerk
                   FOR THE SOUTHERN DISTRICT OF TEXAS
                            HOUSTON DIVISION

SOCIAL POSITIONING INPUT                     §
SYSTEM, LLC,                                 §
                                             §
                     Plaintiff,              §
                                             §
VS.                                          §   CIVIL ACTION NO. H-21-3658
                                             §
LONESTAR TRACKING, LLC,                      §
                                             §
                     Defendant.              §

                                  ORDER OF DISMISSAL

       In accordance with the parties’ stipulation, (Docket Entry No. 17), plaintiff’s claims

in this action are dismissed with prejudice. Defendant’s claims are dismissed without

prejudice. Each party will bear its own costs.

              SIGNED on January 27, 2022, at Houston, Texas.


                                           ______________________________________
                                                      Lee H. Rosenthal
                                                 Chief United States District Judge
